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 This document has been electronically entered in the records of the United
 States Bankruptcy Court for the Southern District of Ohio.


 IT IS SO ORDERED.



 Dated: July 28, 2016



 ________________________________________________________________




                         UNITED STATES BANKRUPTCY COURT
                            SOUTHERN DISTRICT OF OHIO
                                 EASTERN DIVISION

 In re:                                          :   Case No.: 04-60904
                                                 :
 COLUMBUS MICROFILM, INC.                        :   Chapter 7 (Converted)
                                                 :
          Debtor(s).                             :   Judge Preston

      ORDER AND JUDGMENT DENYING MOTION TO RE-OPEN CLOSED CASE

          This matter came before the Court on July 21, 2016 pursuant to notice given, for a

 hearing on the Amended Motion to Re-Open Case To Administer Estate Assets [Doc. #349] filed

 by Angela R. Granata (“Ms. Granata”), a Memorandum in Opposition to the Motion to Re-Open

 Case To Administer Estate Assets (Doc. #349) (the “Objection:”) filed by Reg Martin, former

 Receiver of the Debtor (“Mr. Martin”) (Doc. 351), a Supplement to Amended Motion to Re-Open

 Case To Administer Estate Assets (Doc. #349) (Doc. 357) filed by Mr. Martin, and a Hearing

 Memorandum of Former Case Trustee Regarding Amended Motion to Re-Open Case To

 Administer Estate Assets, filed by Larry J. McClatchey, the former chapter 7 case Trustee.
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        A hearing was held on the Motion and the Response on July 21, 2016. Counsel appeared

 on behalf of Ms. Granata and on behalf of Mr. Martin. The Court having considered the

 pleadings and the matters presented at the hearing on behalf of Ms. Granata and on behalf of Mr.

 Martin, read into the record its Findings and Facts and Conclusions of Law in accordance with

 Rule 7052 of the Rules of Bankruptcy Procedure on April 21, 2016. Those Findings and Facts

 and Conclusions of Law are incorporated into this Order by reference.

        Based upon the foregoing, It is ORDERED and DECREED that the Amended Motion to

 Re-Open Case To Administer Estate Assets (Doc. #349) should be, and hereby is DENIED.

        IT IS SO ORDERED.

 SUBMITTED BY:

  /s/ A, C. Strip
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 Former Receiver for Columbus Microfilm, Inc.

 Copies to All Creditors and Parties in Interest
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